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B2030 (Form 2030) (12/15)
                                                        UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF MARYLAND
                                                               BALTIMORE DIVISION
In re    Jacqueline Diantha Gregory                                                                                            Case No.
         Michael Gregory

                                                                                                                               Chapter           13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
     that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
     services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
     is as follows:


     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                             $4,925.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                               $500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                            $4,425.00

2. The source of the compensation paid to me was:
                      Debtor                                   Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                                   Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.



5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:


     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;


     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;


     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Attorney Fees are paid pursuant to Local Bankruptcy Rules, Appendix F4B.




                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.




                        05/28/2019                                  /s/ Kim Parker
                           Date                                     Kim Parker                                         Bar No. 23894
                                                                    Law Offices of Kim Parker, PA
                                                                    2123 Maryland Ave
                                                                    Baltimore, MD 21218




    /s/ Jacqueline Diantha Gregory                                                    /s/ Michael Gregory
   Jacqueline Diantha Gregory                                                        Michael Gregory
